Exhibit “A”
Seller Name and Address
CARVANA, LLC

63 PIERCE RD
WINDER GA 30680-7280

Buyer(s) Name(s) and Address(es)
Anthony Brooks

712 Sherwood Dr
Williamstown NJ 08094

C1 Business, commercial or agricultural purpose Contract.

Truth-In-Lending Disclosure

NJ-102 10/10/2015
Retail Installment Contract and Security Agreement

Summary

No.
Date

 

12/1119

 

Annual Percentage Rate

The cost of your credit as
a yearly rate.

Amount Financed

The amount of credit
provided to you or on

Finance Charge

The dollar amount the
credit will cost you.

Total of Payments

The amount you will have
paid when you have made

Total Sale Price
The total cost of your
purchase on rredit,

  

 

 

your behalf. all scheduled payments, including your-dewn
payment of
$400.90
18.076.18 $ 20,520.88 $ 38,597.08 o 38,997.08

 

 

 

 

 

Payment Schedule. Your payment schedule is:

 

 

No. of Amount of Payments When Payments are Due
Payments
ral $ 538.00 monthly beginning OUT URS
1 $ 399.06 12/11/28
N/A $ N/A NIA

 

Security. You are giving us a security interest in the Property purchased,

Late Charge. if a payment is more than 10 days

fate, you will be charged 5% of the unpaid amount of the payment due, except that if the
Property is primarily for personal, family,

or househald use and the cash price is $10,000 or less the charge for late payment will be $10.
Prepayment. If you pay off this Contract early, you will not have to pay a penalty,

Contract Provisions, You can see the terms of this

Contract for any additional information about
repayment before the scheduled date, and prepayme

nonpayment, default, any required
nt refunds and penalties.

   
    

 

 

 

Description of Trade-in

Year | Model Style Vehicle Identification Number Odometer Mileage |
2015 Cadillac | SRX Sport Utility 3GYFNBE3XFS609490 67305

C1 New Other:

X) Used i N/A

O Demo

      

 

 

 

 

 

CLE LLG pa

Ci Conditional Delivery. If checked, you agree that the following

 

NA NA NA NIA agreement regarding securing financing (“Agreement”) applies:
The Agreement is part of this Contract. The Agreement will no longer
control after the assignment is accepted. If there are any conflicts
N/A NIA N/A NIA

between the terms of the Agreement and the Contract, the terms of
this Contract will apply.

 

 

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for fee

Page 1 of 6

 
Sales ae, ETE ea eT
Payment. You promise to pay us the Principal amount of Credit Insurance, ife insurance Pays all or part of the amount
§ 3 ere

 

Credit [i
20,520.8 plus the time Price differential YOU OWe under this Contract if you die. This insurance pays only the
accruing on the unpaid balance at the rate of 23.75 % per amount you would owe if you paid all your payments on time. Credit
year from the date of this Contract until Maturity. After maturity, or | disability pays all or part of the Payments due under this Contract
after you default and we demand payment, we will earn the time while you are disabled. This insurance dogs not cover any increase in
price differential on the unpaid balance at 23.75 % per your payment or in the number of payments, See the policies or
year. You agree to pay this Contract according to the payment certificates from the named insurance Companies for the details of
schedule and late charge provisions shown in the Truth-In-Lending the coverage these types of insur ay Provide, and for other terms
Disclosure. You also agree to pay any additional amounts according and conditions, Credit life and Credit disability laccident and health)
to the terms and conditions of this Contract. are not required to obtain credit and are not a factor in the credit
decision. We will not provide them unless you sign and agree to pay

er the additional Premium. If you want such insurance, we will obtain it
Ue Lely for you (if you qualify for coverage). We are quoting below only the
a. Cash Price pf Vehicle so un! 9,500,00 | Coverages you have chosen to p urchase.
b. Trade-tn allowance So O80 _ Credit Life
c. Less: Amount owing, paid to lincludes {}- 9 Single ©" Joint ” None

Net facie Aes we NAF Premium PNA coe Term NA _
d. Net Trade-in (b-c; if negative, enter $0 : Insured NA a
here and enter the amount on ine ] ~ Credit Disability
&. Cash payment Single = Joint "Ren
f. Manufacturer's rebate gle Joint Ate
Premium $ NA

 

 

g. Other down payment idescriba)

 

NIA : (nsured see cteecnne

h. Down Payment (d+e4f4 g)}

i. Adjusted Cash Price ia-h}

j. Sales Tax (reduced as required due to
value of like trade-in}

k. Unpaid balance of Cash Price liej)

. Financed trade-in balance {see fine d)

~ Your signature nelow means yOu want loniy) the insurance
| Coveragels) quotad above. if “Nove” is checked, you haye declined
: the Coverage we offered.

 

 

Fin vde-in balance. : Nev Nia
m, Paid to public officials - filing fees - By: DOR
n. Paid to public offteials - Supplemental

title fee Fo 8.00
0. Paid to public officials - pthar than filing ; NIA NVA

fee Fo 0.00. scien f By nN
bp. insurance premiums paid to insurance Oy

Companylies) a :
q. Service Contract, paid to: : NIA NVA

By BOB

  
 
  
 
 
   

| Property Insurance, You Must insure the Property, You may
. | Purchase or provide the insurance through any insurance company
: reasonably acceptable to us, The collision Coverage deductible may
; Rot exceed $ _ 1,006 lf you get insurance from
or through us you will pay $ N/A for

N/A of coverage,
This premium is calculated as follows:

    
  
  
 
 

 

N/A N/A CI $__ NA Deductible, Collision Cov. ¢ NA
a C$ N/A Deductible Comp. Cov. N/A
i 129.00 eo , _
vs Principet boas aan Paid {thru aa) s 20,520 88 (i Fire-Theft and Combined Additional Cov. § NIA _
O76. VA N/A
dd. Time Price Differential 18,076.18 J $ aN

ff. Prepaig Finance Charge 0.00
99-Amount Financed (k + bb-ff) 20,520.88
bh. Time Sale Price (h+ee) $ 38,997.06

We may retain OF receive a portion of any amounts paid to others,

$
$
£€. Time Balance {cc + dd) $ 38,597.06
$
$

 

PUBLIC HIGHWays.

    

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(1 Single-Interest Insurance. You must purchase single-interest
insurance as part of this sale transaction. You may purchase the
coverage from a company of your choice, reasonably acceptable to

us. If you buy the coverage from or through us, you will pay
$ N/A for N/A

 

of coverage.

Additional Protections

You may buy any of the following voluntary protection plans.
They are not required to obtain credit, are nota factor in the
credit decision, and are not a factor in the terms of the credit or
the related sale of the Vehicle. The voluntary protections will not
be provided unless you sign and agree to pay the additional cost.

Your signature below means that you want the described item and
that you have received and reviewed a copy of the contract(s} for the
productis). If no coverage or charge is given for an item, you have
declined any such coverage we offered,

Ci} Service Lentract
Term
Price $s.
Coverage

N/A omenths

NEA

 

   

CL] Gap Waiver or Gap Coverage
Term ; Fa manihs
Price $n 6.00.

Coverage

 

Oo NEA
Term

Price $ooR
Coverage

 

 

 

 

 

 

 

 

 

 

é 121A
By: Anthony S:5e Date

NEA NYA _
By: Date

NIA NIA
By: Date

Additional Terms of the Sales

Definitions. “Contract” refers to this Retail Installment Contract and
Security Agreement. The pronouns "you" and "your" refer to each
Buyer signing this Contract, and any guarantors, jointly and
individually. The pronouns “we”, “us” and “our” refer to the Seller
and any entity to which it may transfer this Contract. "Vehicle"
means each motor vehicle described in the Description of Property
section. “Property” means the Vehicle and all other property
described in the Description of Property and Additional Protections
sections.

 

 

Purchase of Property. You agree to purchase the Property from
Seller, subject to the terms and conditions of this Contract.You also
agree that the purchase of the Property on credit takes place at the Seller's
licensed location identified at the top of page | of this Contract. Seller will not
make any repairs or additions to the Vehicle except as noted in the
Description of Property section.

You have been given the opportunity to purchase the Property and
described services for the Cash Price or the Total Sale Price. The
"Total Sale Price” is the total price of the Property if you buy it over
time.

General Terms. The Total Sale Price shown in the Truth-In-Lending
Disclosure assumes that all payments will be made as scheduled. The
actual amount you will pay will be more if you pay late and less if
you pay early,

We do not intend to charge or collect, and you do not agree to pay,

_ any time price differential or fee that is more than the maxmum

amount permitted for this sale by state or federal law. If you pay a

_ time price differential or fee that exceeds that Maximum amount, we
_ will first apply the excess amount to reduce the arimesnal balance and,
_ when the principal has been paid in full :efund aay renisining amount

to you.

_ You understand and agres iat some paymenis to (urd parties as a

part of this Contract may ‘evolve Meney retained 2y-us or paid back
to us as commission or other remuneration.

  

_ You agree thai 2he Property wel not be used-as a dwelling.

| Prepayment. You may prepay thls
_ time vathout penalty. Any partial prepayment will nat excuse any

_ later scheduled yayments. if we get a refund of any unearned
"insurance premmuins that you paid, you agree that we may subtract

 

Gentract in full or in part at any

the refund fromthe amount you owe, unless otherwise provided by

» law.

Returned Payment Charge. if you make any payment required by
_ this Contract that is returned uncollected due to insufficient funds in
_ YOUF account, you agree te pay a fee of $20.

Governing Law and Interpretation. This Contract is governed by
~ — the law of New Jersey and applicable federal law and regulations.

| lf any section or provision of this Contract is not enforceable, the
_ other terms will remain part of this Contract. You authorize us to
_ correct any clerical erret ar amissians in this Contract or in any

: related document.

Name and Location. Your name and address set farth in this

. Gontract are your exact legal name and your principal residence. You

will provide us with at least 30 days notice before you change your
name or principal residence.

Telephone Monitoring and Calling. You agree that we may from
time to time monitor and record telephone calls made or received by
US Of Our agents regarding your account to assure the quality of our
service. In order for us to service the account or to collect any
amounts you may owe, and subject to applicable law, you agree that
we may from time to time make calls and send text messages to you
using prerecorded/artificial voice messages or through the use of an
automatic dialing device at any telephone number you provide to us

in connection with your account, including a mobile telephone number
that could result in charges to you.

Default. You will be in default on this Contract (except as prohibited

by law) if you fail to perform any obligation that you have undertaken
in this Contract.

 

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“& 0/10/2015
Boar
— Page 3of6
If the Property is primarily for personal, family, or household use, and @ If we give Up any of our rights, it will not affect your duty to pay

the cash price is $10,000 or less, if you default you agree to pay this Contract,
attorneys’ fees of 20% of the first $500 and 10% on any excess of © If we extend new credit or renew this Contract, it will not affect
the amount due and payable under this Contract, if referred for your duty to Pay this Contract.

Collection to an attorney Not a salaried employee of ours. For other Warranty, Warranty information is provided to you Separately.

collect what you owe, you will pay the attorney's reasonable fee ang Sais Brn
Court costs the law permits,

If an event of default occurs as to any of you, we may exercise our
remedies against any or all of you,

 

Duties Toward Property, By giving us a Security interest in the

: Pronerty you represent and agree to the following:
@ We may pay taxes, #ssessments, ar other liens ar make renairs perky, y P q q

  
   

to the Property if you have not done so. We are not required ta = @ You will defend aur interests in the Property against elaims made
do so, You will repay us that amount immediately. That amount by anyone else. You will keep our claim ta the Property ahead af
will earn the time price differential from the date Wepayitat the claim anyone else. You will nat do ane teea to change our
the cantracr fate described in the Payment Section until paid in | inter est n the Property, ; ; ; ;
full, @ You will keep the Property in POUT BGSsession and in gag

@ We may require you te make the Property avallable te us at a : Condition and repair. Yoo will use the Proserty for jts iniesded
place we designate that is reasonably convenient fo you andus. | and lawful Purposes. - ;

# We may immediately take possession of the Property by legal ¢ You agree Act to remove the “operty from the 4.5 without our
Process oF self-help, but in doing so we May Not breach the =: POF writien consent, . a
peace or unlawfully enter onto your premises  ® You will ne: attennt to self the Property, transfer any fights in

. the Pro IY, OF Grant another tian an the Proper: without gur
@ We may then sell the Property and apply what we receive as rd Ot Ole : per'y

eter writtas Consent.
Provided by law to our reasonable expenses ang then toward we oS pas nen
what you owe us.  ® You ay Dayal taxes and assessments on the Property as they

become dese.
® You will hotly us with reasonable Promptness of any loss or
damage to the Property,

@ We may, as allowed by law, sue you for additional amounts # the °
Proceeds of a sale do NOt pay all of the amounts you swe us

By choosing any one or More of these ¢ emecies, we de not give BP @® You will provide us reasonable access to the Property for the
Our right to later use another remedy. By deciding net to use any Purpose of inspection. Our entry and inspection must be
remedy, we de not give up our Hight to consider the event a default # atcomplished lawfully, and without breaching the peace.

it happens again. Agreement to Provide Insurance. You agree to provide property

You agree that if any Notice is required zo he given te you of an » insurance on the Property protecting against logs and physical
intended sale ar transfer of the Property: natice is reasonable if | damage and Subject to a maximum deductible amount indicated in the
matled te your last knows address, as reflected in our records, at Insurance Lisclosures Section, or as we will otherwise require, You
least 12 days before the date of the imtended sale oy transfer (or such © will name us as loss payee on any such Dolicy. Generally, the loss
other peviod of time as ig reguired by lay). - payee is the One to be paid the policy benefits in Case of loss of

You agrée that We may-take Possession of person | property left in or | pamage to the Prop erty. in ine of iss of damage to ne
on the Property Sectiving this Contract and taken inte Possession as TOperty, we may veauire additional secur Y GF assurances 9

rovi bove. ¥ Ve a Fight to recover th t property.
provided a cu may have a a ° at Property ; teplace the Property. You agree that if the insurance proceeds do not

Cover the amounts You still owe us, you will pay the difference. You
will keep the insurance in full force and effect until this Contract is

If the Property has an electronic tracking device, you agree that we
may use the device to find the vehicle,

  
    
  
    
 

agrees to pay this Contract according to its terms. This means the
following:

® You must pay this Contract even if someone else has also signed
It,

If you fail to obtain or maintain this insurance, or name us as loss
payee, we may obtain insurance to protect our interest in the
Property. This insurance may be written bya Company other than one

@ We may release any Co-buyer or guarantor and you will Still be
obligated to pay this Contract.

© We may release any security and you will still be obligated to pay
this Contract.

 
      
   

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0/10/2015
Gap Waiver or Gap Coverage. In the event of theft or damage to the
Vehicle that results in a total loss, there may be a gap between the
amount due under the terms of the Contract and the proceeds of your
insurance settlement and deductibles. You are liable for this
difference. You have the option of purchasing Gap Waiver or Gap
Coverage to cover the gap ability, subject to any conditions and
exclusions in the Gap Waiver or Gap Coverage agreements.

Wotices

Note. If the primary use of the Vehicle is hon-consumer, this is
not a consumer contract, and the following notice does not
apply. NOTICE. ANY HOLDER OF THIS CONSUMER CREDIT
CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES
WHICH THE DEBTOR COULD ASSERT AGAINST THE SELLER OF
GOODS OR SERVICES OBTAINED PURSUANT HERETO OR WITH
THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE
DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY THE GEBTGR
HEREUNDER.

If you are buying a used vehicle: The information you
see on the window form for this vehicle is part of this
contract, Information on the window form overrides
any Contrary provisions in the contract of sale.

Si compra un vehiculo usado: La informacién que ve

adherida en Ja ventanilla forma parte de éste contrato, ;

La informacién contenida en el formularia de la
ventanilla prevalece por sobre toda otra disposicidn en
contrario incluida en el contrato de compraventa.

{This area intentionally loft blank J

 

 

Ue SAC ela

(This section applies ONLY to a person who will have an ownership
interest in the Property but is NOT a Buyer obligated to pay this
Contract ("Third Party Owner").)

In this section only, “you” means only the person signing this section.

By signing below you agree to give us a security interest in the
Property described in the Description of Property section. You also
agree to the terms of this Contract except that you will not be liable
for the payments it requires. Your interest in the Property may be
used to satisfy the Buyer's obligation. You agree that we may renew,
extend or change this Contract, or release any party or Property
without releasing you from this Contract. We may take these steps
without notice or demand upon you.

You acknowledge receipt of a completed copy of this Contract.

By: Duta
Signature of Third Party Qweer INGT the Buyer!

iThis area intentionally left Hank}

 

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Page 5 of 6

 
KX} Electronic Signature Acknowledgment. You agree that (i) you
viewed and read this entire Contract before Signing it, (ii) you signed
this Contract with one or more electronic signatures, (iii) you intend
to enter into this Contract and your electronic Signature has the same
effect as your written ink Signature, (iv) you received a paper copy of
this Contract after it was signed, and (v) the authoritative copy of
this Contract shall reside in a document Management system held by
Seller in the ordinary course of business. You understand that Seller
may transfer this Contract to another company in the electronic form
OF aS a paper version of that electronic form which would then
become the authoritative copy. Seller or that other company may
enforce this Contract in the electronic form Of aS a paper version of
that electronic form. You may enforce the paper version of the
Contract copy that you received,

Signature Notices

The Annual Percentage Rate may be negotiable with the
Seller. The Seller na y assign this Contract and retain its night
fo receive a part of the Finance Charge.

 
  

SLE

 

Entire Agreement. Your and our entire agreement is contained in
this Contract. There are no unwritten agreements regarding this
Contract. Any change to this Contract must be in writing and
Signed by you and by us.

 

 

By: Anthony Brooks Date
a A a te NIA
By: Date

Date

[This area intentionally left blank.]

 

  

NOTICE TO RETAIL BUYER
Do not sign this Contract in blank.
You are entitled to a copy of the Contract at the time you sign.
Keep it to protect your legal rights.

By signing below, you agree to the terms of this Contract. You
received a copy of this Contract and had a chance to read and
review it before you signed it.

Buyer
A
A, a 12/11/19
Date
By: Bate
| By: Date
Saller
FAV ig
Date

 

 

Assignment. This Contract and Security Agreement is assigned to
MA

a NA __. This assignment
is made under the terms of a Separate agreement made between
the Seller and Assignee.

 

This Assignment is made with recourse.
Seller

By: Date

 

 

 

 

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